   Case 4:24-cv-01991     Document 20      Filed on 11/25/24 in TXSD    Page 1 of 1
                                                                           United States District Court
                                                                             Southern District of Texas

                                                                                ENTERED
                                                                            November 25, 2024
                        UNITED STATES DISTRICT COURT                         Nathan Ochsner, Clerk

                         SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

LORI KIMBRO,                               §
       Plaintiff,                          §
                                           §
VS.                                        § CIVIL ACTION NO. 4:24-CV-01991
                                           §
BANK OF AMERICA, N.A.,                     §
      Defendant.                           §

                                FINAL JUDGMENT
      In an Order issued simultaneously with this judgment, the Court granted the motion

to dismiss filed by Defendant Bank of America, N.A. (Dkt. 19). In accordance with that

ruling, Plaintiff Lori Kimbro’s claims are DISMISSED WITH PREJUDICE. Each party

shall bear its own fees and costs. Any other pending motions are DENIED AS MOOT.

      THIS IS A FINAL JUDGMENT.

       SIGNED at Houston, Texas on November 25, 2024.


                                               _______________________________
                                                   GEORGE C. HANKS, JR.
                                               UNITED STATES DISTRICT JUDGE




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